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             EXHIBIT 52
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                 EXHIBIT 5
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October 2, 2023                                                                          Disha R. Patel

                                                                                        +1 617 526 6795 (t)
                                                                                        +1 617 526 5000 (f)
                                                                               disha.patel@wilmerhale.com



Thomas H. L. Selby
Williams & Connolly LLP
680 Maine Avenue, S.W.
Washington, DC 20024
tselby@wc.com

Bruce M. Wexler
Paul Hastings LLP
200 Park Avenue
New York, NY 10166
brucewexler@paulhastings.com


Re: ModernaTX, Inc. et al v. Pfizer Inc. et al, Case No. 1:22-cv-11378-RGS (D. Mass.): Plaintiffs’
    Document Reproduction and Clawback

Counsel:

Pursuant to paragraph 9.2 of the Protective Order (Dkt. 67), please immediately destroy the original
and all copies of the following document produced by Plaintiffs, destroy any notes or other writings
or recordings that summarize, reflect, or discuss the specific content of the document, and make no
further use of the document or the information contained therein:

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Plaintiffs provide with this letter a privilege log for certain of the above document, which is
privileged in their entirety.

In addition, Plaintiffs are herewith reproducing certain documents referenced in the October 26,
2023 letter from A. Curtis. Via an emailed secure link, you will receive access to a share site
containing documents Plaintiffs are reproducing in the above-referenced action. Please note that
some documents within this production have been designated “CONFIDENTIAL” and “HIGHLY
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matter (Dkt. 67) and should be treated accordingly.

The files have been password-protected, and the associated passwords are below:




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Regards,
/s/ Disha Patel
Disha Patel

+1 617-526-6795
disha.patel@wilmerhale.com




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